
The Supreme Court affirmed the orders on May 18th, 1874, in the following opinion:
Per Curiam.
The case of Lancaster Road, 68 Pa., 396, rules this. t It applies to the city as well as the county and the viewers are for roads and bridges and necessarily include all purposes. Widening is a new location as to the part widened. It covers new ground and is of the same nature as the laying out of a new street. It would be very inconvenient to have different modes of proceeding in the same comity, and the cases should be assimilated when the language of the law so clearly includes widening. The Act of April 13, 1854, P. L., 352, conferring on the Court the power to decree the width of all streets opening or extended in the City of Lancaster, in effect repeals the proviso of the Act of May 8, 1850, P. Laws, 715. The power to fix the width was intended not only to promote convenience, but to produce uniformity.
The orders and decrees in the above cases are affirmed.
